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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


KENYATTA WILLIAMS,
                                                                Case No. 1:13-cv-653
                Plaintiff,
                                                                Hon. Robert J. Jonker
v.

CITY OF GRAND RAPIDS,
et al.,

                Defendants.
                                       /

                              REPORT AND RECOMMENDATION

                This matter is now before the court on plaintiff’s “Affidavit of Truth Concerning

Motion of Summary Judgment in favor of Kenyatta Williams” which the Clerk’s Office docketed

as a motion for summary judgment (docket no. 31), defendant Leonard and Rekucki’s “Cross-

Motion for Summary Judgment based on Qualified Immunity” (docket no. 39), and defendant City

of Grand Rapids and Chief Belk’s Motion for summary judgment (docket no. 59).

                I.      Plaintiff’s allegations

                Plaintiff’s amended complaint names five defendants: the City of Grand Rapids (the

“City”); Grand Rapids Police Chief Kevin Belk (“Chief Belk”); Grand Rapids Police Officer

Gregory Rekucki (“Officer Rekucki”); and Grand Rapids Police Officer Anthony Leonard (“Officer

Leonard”). Amend. Compl. at ¶¶ 10-19. Plaintiff sues Chief Belk in his official capacity, and

Officers Leonard and Rekucki in their individual capacities. Id. Plaintiff’s amended complaint sets

forth the following allegations. On September 4, 2011, plaintiff and two friends drove from

Kalamazoo “to patronize Cheero’s Sports Bar” located in the City. Id. at ¶ 40. Cheero’s was open

at the time, but there was a line to enter the bar. Id. at ¶ 41. Plaintiff exited the car to wait in line
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while one of his friends parked the vehicle. Id. at ¶ 42. It started to rain, so plaintiff returned to wait

in the vehicle while his other friend stayed in line to enter Cheero’s. Id. At some point in time,

Officers Rekucki and Leonard approached the vehicle, pulled plaintiff and his friend out of the

vehicle, arrested them for criminal trespass, and handcuffed plaintiff and his friend. Id. at ¶¶ 43-44.

Plaintiff alleged that the handcuffs caused him “considerable pain.” Id. at ¶ 44. While plaintiff also

referred to a “slap in the face,” based on the record, it appears that this is a figurative, as opposed

to a literal, reference. At no point in time did a representative of Cheero’s ask plaintiff to leave the

parking lot or communicate with Officers Rekucki or Leonard regarding whether to arrest plaintiff.

Id. at ¶ 45. Plaintiff was transported to local jail where he spent about 24 hours before a friend

posted his bond. Id. at ¶ 48.

                According to plaintiff, the City solicits businesses to sign general “Letters of Intent

to Prosecute Trespassers” which the City’s police officers construe as authorizing them to arrest

individuals for trespassing on the business’ property. Id. at ¶¶ 20-39. Plaintiff further stated that

the Letters of Intent do not purport: “to allow the Grand Rapids Police Department to decide,

without any further consultation with the property owner/occupant, that a particular individual is not

authorized to be on the property;” “to authorize officers of the Grand Rapids Police Department to

arrest individuals simply for being present on the property;” “to create probable cause that any

particular individual is trespassing;” or “to eliminate the constitutional requirement that an arrest for

criminal trespassing must be supported by probable cause to believe that the arrested individual was

trespassing.” Id. at ¶¶ 30-37.1 According to plaintiff, the “police video of the incident” shows that



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         The Court notes that plaintiff’s amended complaint does not include paragraphs numbered 33, 34,
35 and 36.

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when plaintiff and his friend questioned the basis of their arrests, the officers informed them they

were arrested because the owner of Cheero’s had signed this type of “Letter of Intent.” Id. at ¶ 46.

Similarly, the police report confirmed that “the officers’ sole proffered justification for arresting

[plaintiff] was that the owner’s of Cheero’s had signed a general Letter of Intent” and that the

officers did not report any facts to establish probable cause that plaintiff was trespassing. Id. at ¶

47.

               Plaintiff further alleged that the use of the Letters of Intent are part of an illegal

policy of the City (in his words):

                56.    The Grand Rapids Police Department maintains a custom, policy, or
       practice of arresting individuals for trespassing on the publicly-accessible property
       of private businesses across the city, based on the fact that the owner of the business
       in question signed a generalized Letter of Intent, even though the businesses in
       question are open to the public, the alleged trespassers have never been asked to
       leave by the lawful owner or occupant of the property, and there is no probable cause
       for a trespassing arrest.

                                       *       *       *

               67.     In addition, the failure of Defendants Belk and the City of Grand
       Rapids to instruct their officers immediately to cease using or relying on generalized
       Letters of Intent as a substitute for probable cause, after Plaintiff Kenyatta Williams
       outlined the unconstitutionality of the practice, reflects a conscious choice by
       Defendants to continue this unconstitutional practice.

                68.    Defendants Belk and the City of Grand Rapids have either
       affirmatively trained and supervised their police officers so as to encourage the
       unconstitutional practice of using Letters of Intent as a substitute for probable cause,
       or, alternatively, have failed to meet their duty to adequately train and supervise their
       police officers in order to ensure that those officers act in accordance with
       well-established constitutional principles.

               78.     The custom, policy and practice of Defendants Belk and the City of
       Grand Rapids - including official policies, the actions of City and GRPD officials
       with final decision making authority, the failure to adequately train, supervise, and
       discipline GRPD officers for the challenged conduct, and the tolerance of repeated
       violations of individuals’ Fourth Amendment rights - are the moving force behind

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        the challenged conduct and proximately caused the development and proliferation
        of the practice of using generalized Letters of Intent as a basis for trespassing arrests.

                79.     The custom, policy and practice of Defendants Belk and the City of
        Grand Rapids-including official policies, the actions of City and GRPD officials with
        final decision making authority, the failure to adequately train, supervise, and
        discipline GRPD officers for the challenged conduct, and the tolerance of repeated
        violations of individuals’ Fourth Amendment rights - were the moving force behind
        the unconstitutional conduct of Defendants, Rekucki, and Leonard, and proximately
        to effectuate the unlawful arrests of Plaintiff Kenyatta Williams[.]

Id. at ¶¶ 56, 67, 68, 78 and 79.

                The City attorney prosecuted plaintiff for violating Grand Rapids City Ordinance §

9.133(1). Id. at ¶ 50. Plaintiff pled not guilty. Id. at ¶ 51. The trespassing charges were

subsequently “nolle prossed” and dismissed. Id. In this regard, plaintiff attached a Judgment of

Sentence to his amended complaint, which states that on January 26, 2012 plaintiff was “found

guilty” of trespassing while at the same time designating the case as “Nolle Prosequi.” See

Judgment of Sentence (docket no. 22-4).

                In reciting the procedural history of this matter, plaintiff’s complaint fails to mention

that on the date in question, September 4, 2011, he was also arrested for possession of marijuana,

contrary to M.C.L. § 333.7403(2)(d). See Grand Rapids Police Department Incident Report Form

(docket no. 43-3); Leonard Aff. at ¶¶ 33-53 (docket no. 41-1); People v. Williams, No. 11-SM-1817

(61st Dist. Ct.) (Register of Actions and Order of Dismissal) (docket no. 44-5). While plaintiff

refers to this arrest in subsequent papers filed in this matter, the Court notes that plaintiff’s

complaint is limited to the legality of his arrest for trespass.

                Plaintiff has alleged one cause of action, arising from a violation of the Fourth

Amendment’s prohibition against unreasonable searches and seizures by the government. Id. at ¶

86.   Specifically, plaintiff alleged that “Grand Rapids police officers’ practice of arresting

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individuals for trespassing in the absence of probable cause, and based solely on the fact that the

owner of the property in question had signed a generalized Letter of Intent, violates the clearly

established Fourth Amendment prohibition against unreasonable searches and seizures.” Id. at ¶ 87.

For his relief, plaintiff seeks a permanent injunction “restraining [d]efendants, their employees,

agents, and successors from continuing to use generalized Letters of Intent as a basis for making

individual trespass arrests.”   Id. at p. 12.   Plaintiff also seeks damages in the amount of

“$2,500,000.00 Million Cardits.” Id.

               II.     The motions for summary judgment

               A.      Legal standard

               Summary judgment is appropriate “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(c). In Copeland v. Machulis, 57 F.3d 476 (6th Cir. 1995), the court set

forth the standard for deciding a motion for summary judgment:

       The moving party bears the initial burden of establishing an absence of evidence to
       support the nonmoving party’s case. Once the moving party has met its burden of
       production, the nonmoving party cannot rest on its pleadings, but must present
       significant probative evidence in support of the complaint to defeat the motion for
       summary judgment. The mere existence of a scintilla of evidence to support
       plaintiff's position will be insufficient; there must be evidence on which the jury
       could reasonably find for the plaintiff.

Copeland, 57 F.3d at 478-79 (citations omitted). “In deciding a motion for summary judgment, the

court views the factual evidence and draws all reasonable inferences in favor of the nonmoving

party.” McLean v. 988011 Ontario Ltd., 224 F.3d 797, 800 (6th Cir. 2000). However, the court is

not bound to blindly adopt a non-moving party’s version of the facts. “When opposing parties tell


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two different stories, one of which is blatantly contradicted by the record, so that no reasonable jury

could believe it, a court should not adopt that version of the facts for purposes of ruling on a motion

for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).

                 B.      Plaintiff’s affidavit/motion for summary judgment

                 Plaintiff filed a three-page document entitled “Affidavit of truth concerning motion

for summary judgment in favor of Kenyatta Williams” (docket no. 31), which the Clerk’s Office

docketed as a motion for summary judgment. While plaintiff’s affidavit refers to Fed. R. Civ. P.

56(a), it is not in the form of a motion for summary judgment, but merely a one-paragraph notarized

statement which includes both factual statements and legal conclusions. Despite the fact that it was

not filed in accordance with the Court rules, the Court noted at the Rule 16 Conference that it was

docketed as a motion for summary judgment and would treat it as such.2

                 Plaintiff’s one-paragraph affidavit/motion states two legal positions. First, plaintiff

states that Officers Leonard and Rekucki did not have probable cause to arrest him because plaintiff

“was not told that I was unwelcome on the premises, which is the key element to being arrested for

Trespassing!” Plaintiff’s Motion at p. 2. Second, plaintiff states that the “probable cause” for which

he was arrested (presumably for possession of marijuana) “did not come into play until after I was

arrested,” and that it did not exist because he was protected under the medical marihuana act. Id.

Defendants City and Chief Belk filed a 21-page response to the motion which raised other issues and

sought a grant of summary judgment for defendants. See Response (docket no. 38). The City and



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           The Court notes that the motion did not comply with Fed. R. Civ. P. 7(b)(1) (e.g., it did not state
with particularity the grounds for seeking the order or state the relief sought or with W.D. Mich. LCivR
7.1(a) (requiring that motions filed in this court must be accompanied by a supporting brief, which “shall
contain a concise statement of the reasons in support of the party’s position and shall cite all applicable
federal rules of procedure, all applicable local rules, and the other authorities upon which the party relies”).

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Chief Belk subsequently filed a separate motion for summary judgment (see docket no. 59) which

incorporated arguments set forth in their response. Finally, the Clerk’s Office re-docketed plaintiff’s

affidavit/motion as a response to Officer Leonard and Rekucki’s later-filed motion for summary

judgment. See Response to motion for summary judgment (no docket number assigned) (Nov. 22,

2013). Based on this record, the Court will consider plaintiff’s affidavit/motion, the City and Chief

Belk’s motion, and Officer Leonard and Rekucki’s motion as all seeking summary judgment on

behalf of the movant.

               C.       Officer Leonard and Rekucki’s Motion for summary judgment

               Plaintiff seeks relief pursuant to 42 U.S.C. § 1983, which confers a private federal

right of action against any person who, acting under color of state law, deprives an individual of any

right, privilege or immunity secured by the Constitution or federal laws. Burnett v. Grattan, 468

U.S. 42, 45 n. 2 (1984); Stack v. Killian, 96 F.3d 159, 161 (6th Cir.1996). To state a § 1983 claim,

a plaintiff must allege two elements: (1) a deprivation of rights secured by the Constitution and laws

of the United States, and (2) that the defendant deprived him of this federal right under color of law.

Jones v. Duncan, 840 F.2d 359, 360-61 (6th Cir. 1988); 42 U.S.C. § 1983.

               Here, plaintiff has alleged that defendants violated his Fourth Amendment rights by

arresting him without probable cause. “The Fourth Amendment protects against unreasonable

searches and seizures and requires that arrest warrants be issued only upon a showing of probable

cause. U.S. Const. amend. IV.” Robertson v. Lucas, 753 F.3d 606, 618 (6th Cir. 2014). “To state

a Fourth Amendment false arrest claim, a plaintiff must prove that the arresting officer lacked

probable cause to arrest the plaintiff.” Id. (internal quotation marks omitted). However, “[a] valid

arrest based upon then-existing probable cause is not vitiated if the suspect is later found innocent.”


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Kinlin v. Kline, 749 F.3d 573, 578 (6th Cir. 2014), quoting Criss v. City of Kent, 867 F.2d 259, 262

(6th Cir.1988). “Indeed, probable cause requires only the probability of criminal activity, not some

type of prima facie showing.” Id., quoting Jolley v. Harvell, 254 Fed.Appx. 483, 486 (6th Cir.2007)

(brackets and internal quotation marks omitted).

               In their motion for summary judgment, defendants Leonard and Rekucki do not

contest the facts or legal merits of plaintiff’s Fourth Amendment claim. Rather, the officers contend

that they are they are entitled to summary judgment on the ground of qualified immunity. Under

the doctrine of qualified immunity, government officials performing discretionary functions are

shielded from civil liability unless their conduct violates clearly established constitutional rights.

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Thus, a defendant is entitled to qualified immunity

on summary judgment unless the facts, when viewed in the light most favorable to the plaintiff,

would permit a reasonable juror to find that: (1) the defendant violated a constitutional right; and

(2) the right was clearly established. Pearson v. Callahan, 555 U.S. 223, 231-33 (2009); Bishop v.

Hackel, 636 F.3d 757, 765 (6th Cir 2011). The court may exercise its sound discretion “in deciding

which of the two prongs of the qualified immunity analysis should be addressed first in light of the

circumstances in the particular case at hand.” Pearson, 555 U.S. at 236.

               As discussed, plaintiff alleged that he was arrested for trespassing without probable

cause. Defendants Leonard and Rekucki contend that they are entitled to qualified immunity

because it was not “clearly established” at the time of the arrest in 2011 that police officers could

not arrest a person for violating the City’s trespassing ordinance which provided that:

               No person shall:




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                        (1) Trespass upon the premises of another or unlawfully
                remain upon the premises of another to the annoyance or disturbance
                of the lawful occupants.

Grand Rapids City Code, Title IX, Chapter 152, Article 1, § 9.133(1).

                In order to find that a clearly established right exists, “the district court must find

binding precedent by the Supreme Court, [the Sixth Circuit], the highest court in the state in which

the action arose, or itself, so holding.” Wayne v. Village of Sebring, 36 F.3d 517, 531 (6th Cir.

1994). “The burden of convincing a court that the law was clearly established ‘rests squarely with

the plaintiff.’” Key v. Grayson, 179 F.3d 996, 1000 (6th Cir. 1999). “This inquiry ‘must be

conducted in light of the specific context of the case. [It must be] sufficiently clear that a reasonable

official would understand that what he is doing violates that right . . . [and] in the light of

preexisting law the unlawfulness must be apparent.’ Andrews v. Hickman Cnty., 700 F.3d 845, 853

(6th Cir.2012) (second alteration in original) (internal quotation marks omitted).” Iswed v. Caruso,

-- F.3d --, 2014 WL 3607770 at *3 (6th Cir. July 22, 2014).

                In support of their motion, defendants Leonard and Rekucki have submitted records

which reflect that the owner of Cheero’s Sports Bar “signed a no trespass letter, that the owner

believed anyone hanging out in his parking lot were not patrons, and that the owner wanted the

GRPD to remove trespassers.” Capt. Vanderkooi Aff. at ¶ 13 (docket no. 41-4). See also, Grand

Rapids Police Department’s e-mail newsletter, The East Edge (sent to defendants Leonard, Rekucki

and other officers) (docket no. 42-3 at 10) (noting that the owner of Cheero’s “wished our

department to enforce a NO TRESPASS LETTER which he signed” and that “[the owner] believes

that if persons in the lot are trespassing, they are not the clientele he desires and wants them

removed”).


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               For his part, plaintiff contends that at the time of his arrest in 2011, the law was

clearly established that before a person can be arrested for trespass, that person must be warned or

notified to depart the premises. In this regard, plaintiff relies on People v. Clay, No. 183101, 1997

WL 33352783 (Mich. App. April 11, 1997). In Clay, the Michigan Court of Appeals addressed

whether officers had probable cause to arrest the defendant for trespassing on a business’s property,

when the defendant did not receive a warning. The trespassing statute at issue in Clay provided in

pertinent part as follows:

       (1) A person shall not do any of the following:

               (a) Enter the lands or premises of another without lawful authority
               after having been forbidden so to do by the owner or occupant or the
               agent of the owner or occupant.

               (b) Remain without lawful authority on the land or premises of
               another after being notified to depart by the owner or occupant or the
               agent of the owner or occupant.

               (c) Enter or remain without lawful authority on fenced or posted farm
               property of another person without the consent of the owner or his or
               her lessee or agent. A request to leave the premises is not a necessary
               element for a violation of this subdivision. This subdivision does not
               apply to a person who is in the process of attempting, by the most
               direct route, to contact the owner or his or her lessee or agent to
               request consent.

       (2) A person who violates subsection (1) is guilty of a misdemeanor punishable by
       imprisonment in the county jail for not more than 30 days or by a fine of not more
       than $250.00, or both.

M.C.L. § 750.552(1) and (2).

               In Clay, the state appellate court concluded that the officers did not have probable

cause to arrest the defendant because under the relevant trespassing statute, a person could not be




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charged with trespassing unless he or she was notified to depart the premises and then either

neglected or refused to do so:

               Defendant was also not lawfully arrested for trespassing on the gas station
       parking lot. [Officer] Kessner testified that he believed that defendant was
       trespassing in the parking lot and that he was aware of a letter that the owner of the
       gas station had on file with the Grand Rapids Police Department giving the police
       permission to arrest trespassers on the lot. The applicable trespassing statute applies
       when an individual has been forbidden to enter or was notified to depart and neglects
       or refuses to do so. MCL 750.552; MSA 28.820(1). Defendant was not told to
       depart from the premises, and inasmuch as the lot was open to the general public, the
       “No Trespassing” signs were inadequate to inform defendant that he was forbidden
       to enter the parking lot. Accordingly, the officers did not have probable cause to
       arrest defendant for trespassing.

Clay, No. 1997 WL 33352783 at *2.

               While the owner of the gas station in Clay utilized a “letter” giving police permission

to arrest trespassers on the lot, the court’s decision finding a lack of probable cause is

distinguishable from the present case.       Unlike the trespassing statute in Clay,       M.C.L. §

750.552(1)(b), Grand Rapids Ordinance § 9.133(1) does not require that a person charged with the

offense be notified by the owner occupant to leave the premises. Rather, the ordinance in this case

prohibits “[t]respass upon the premises of another . . . to the annoyance or disturbance of the

lawful occupants.” See In re Bradley Estate, 494 Mich. 367, 377, 835 N.W.2d 545 (2013) (when

construing a statute or ordinance, Michigan courts “consider the statute’s plain language and we

enforce clear and unambiguous language as written”). While plaintiff contends that the City’s use

of the Letter of Intent was unconstitutional, he provides no authority to support that contention. Nor

does plaintiff cite authority which would preclude officers from relying on such a letter for

enforcement of Grand Rapids Ordinance § 9.133(1).            Plaintiff has not met his burden of

demonstrating that Officers Leonard and Rekucki’s arrest of plaintiff pursuant to Grand Rapids


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Ordinance § 9.133(1) violated a clearly established constitutional right. See Harlow, 457 U.S. at

818; Key, 179 F.3d at1000; Wayne, 36 F.3d at 531. Accordingly, Officers Leonard and Rekucki are

entitled to qualified immunity with respect to plaintiff’s claims.

               D.      The City and Chief Belk’s Motion for summary judgment

               Defendants City and Chief Belk seek summary judgment on various grounds pursuant

to Fed. R. Civ. P. 56. Because the real party in interest in this official-capacity suit against Chief

Belk is the governmental entity (the City) and not the named official (Chief Belk), “the entity’s

policy or custom must have played a part in the violation of federal law.” Hafer v. Melo, 502 U.S.

21, 25 (1991) (internal quotation marks and citations omitted). “For the same reason, the only

immunities available to the defendant in an official-capacity action are those that the governmental

entity possesses.” Id. Here, because plaintiff cannot maintain a § 1983 action against defendant

Officers Leonard and Rekucki for violation of his constitutional rights, he cannot maintain a § 1983

action against the City and Chief Belk based upon the officers’ actions. “A municipality or county

cannot be liable under § 1983 absent an underlying constitutional violation by its officers.”

Blackmore v. Kalamazoo County, 390 F.3d 890, 900 (6th Cir. 2004). See, e.g., Floyd v. City of

Detroit, 518 F.3d 398, 411 (6th Cir. 2008) (“[w]here a court determines that no violation of the

plaintiff’s constitutional rights occurred, obviously the governmental entity cannot be liable for its

failure to train or for developing a custom that led to a constitutional violation”). Accordingly,

defendant City and Chief Belk are entitled to summary judgment.

               III.    RECOMMENDATION

               For these reasons, I respectfully recommend that the motion for summary judgment

filed by plaintiff (docket no. 31) be DENIED, that the motion for summary judgment filed by


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defendants Leonard and Rekucki (docket no. 39) be GRANTED, that the motion for summary

judgment filed by defendants City and Chief Belk (docket no. 59) be GRANTED, and that this

action be DISMISSED.


Dated: September 2, 2014                             /s/ Hugh W. Brenneman, Jr.
                                                     HUGH W. BRENNEMAN, JR.
                                                     United States Magistrate Judge



ANY OBJECTIONS to this Report and Recommendation must be served and filed with the Clerk
of the Court within fourteen (14) days after service of the report. All objections and responses to
objections are governed by W.D. Mich. LCivR 72.3(b). Failure to serve and file written objections
within the specified time waives the right to appeal the District Court’s order. Thomas v. Arn, 474
U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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